  Case 20-16080      Doc 15   Filed 02/02/22 Entered 02/02/22 10:27:11             Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                     )               BK No.:      20-16080
                                           )
Gino's Rosemont LLC,                       )               Chapter: 7
                                           )
                                                           Honorable David D. Cleary
                                           )
                                           )
              Debtor(s)                    )

                  ORDER AUTHORIZING RULE 2004 EXAMINATION OF
                DEBTOR, RUSSEL LUBLINER, USBANK AND U.S. BANCORP

        This matter coming on for hearing on the Trustee's Motion for Rule 2004 Examination Of
Debtor, Russel Lubliner, USbank and U.S. Bancorp, due notice having been given, and no notice of
objection thereto having been filed, it is
        ORDERED, that Phillip D. Levey, Trustee herein, is authorized to examine the Debtor, Russel
Lubliner, USbank and U.S. Bancorp pursuant to Federal Rule of Bankruptcy Procedure 2004.




                                                        Enter:


                                                                 Honorable David D. Cleary
Dated: February 02, 2022                                         United States Bankruptcy Judge

 Prepared by:
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